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   6 Attorney for Plaintiff,
   7 JEFFERY R. WERNER,
   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA

  10   JEFFERY R. WERNER,                          Case No. 2:18-cv-07188-VAP-SK
  11                             Plaintiff,        NOTICE OF MOTION AND
  12   v.                                          MOTION FOR ATTORNEYS’ FEES

  13   EVOLVE MEDIA, LLC;                          Hearing Date: June 15, 2020
       CRAVEONLINE, LLC; TOTALLY
  14   HER MEDIA, LLC and DOES 3-25,               Hearing Time: 2:00 p.m.
       inclusive,
  15                                               Courtroom: 8A
                                 Defendants.
  16
  17
                TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  18
       PLEASE TAKE NOTICE that on June 15, 2020 at 2:00 p.m., or as soon thereafter
  19
       as the matter may be heard in the courtroom of the Honorable Virginia A. Phillips
  20
       of the above-titled court, located at the United States Courthouse, 350 West First
  21
       St., Los Angeles, CA, 90012, Courtroom 8A, 8th Floor, Plaintiff Jeffery R. Werner
  22
       (“Plaintiff” or “Werner”) will move for an award of attorneys’ fees and costs in the
  23
       amount of $51,151.03. against Defendants Evolve Media, LLC (“Defendant
  24
       Evolve”), CraveOnline, LLC (“Defendant Crave”), and Defendant Totally Her
  25
       Media, LLC (“Defendant Totally Her”) pursuant to Federal Rules of Civil
  26
       Procedure 54(d)(2)(B)(i), Local Rule 54-7, and 17 U.S.C. § 505.
  27
                Prior to the filing of this Motion, on April 30, 2020 Plaintiff’s counsel met
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   1   and conferred with Defendants’ counsel Ricardo Chavez in accordance with Local
   2   Rule 7-3. Declaration of Ryan E. Carreon (“Carreon Decl.”) ¶3.
   3            This Motion is based on this Notice of Motion, the attached memorandum of
   4   points and authorities, the declaration of Ryan E. Carreon in support, and the
   5   pleadings, files and other materials that are on file with the Court or may be
   6   presented at the hearing.
   7
   8   DATED: May 12, 2020                          Respectfully submitted,
   9
  10                                                /s/ Ryan E. Carreon
                                                    Ryan E. Carreon, Esq.
  11                                                Cal. Bar No. 311668
  12                                                HIGBEE & ASSOCIATES
                                                    1504 Brookhollow Dr., Ste 112
  13                                                Santa Ana, CA 92705-5418
  14                                                (714) 617-8336
                                                    (714) 597-6559 facsimile
  15                                                Counsel for Plaintiff
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   1                      MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.             INTRODUCTION
   3                This is a copyright infringement case brought by Plaintiff Jeffery R. Werner
   4   (“Werner”) against Defendants Evolve Media, LLC, CraveOnline, LLC, and
   5   Totally Her Media, LLC (collectively “Defendants”).
   6                Werner is the creator and rights holder to four photographs (“Images”) of
   7   various odd and eccentric subject matter. Defendants own and operate a number of
   8   editorial websites. At various times, Defendants copied and displayed the Images
   9   on their editorial websites without permission or purchasing a license from Werner.
  10                In 2017, Werner, through his agent Brian Wolff, sent a number of cease and
  11   desist letters to Defendants’ general counsel Josh Ellingwood containing
  12   screenshots of the infringing use of Werner’s Images on Defendants’ websites.
  13   Wolff also communicated directly with Ellingwood by email and telephone.
  14   Despite the communications with Ellingwood, Defendants did not remove the
  15   Images from their websites.
  16                On August 18, 2018, Werner commenced this lawsuit for copyright
  17   infringement. Dkt #1. At the time the lawsuit was commenced, two of the Images
  18   had not been removed from Defendants’ websites. On March 9, 2020, Werner filed
  19   a Motion for Summary Judgment as to his claims of copyright infringement and as
  20   to Defendants nine affirmative defenses. Dkt. #63. On April 28, 2020, the Court
  21   granted Werner’s Motion in its entirety. Dkt. #68. That same day, the Court entered
  22   Judgment in Werner’s favor. Dkt. #69.
  23                Pursuant to Pursuant to Federal Rules of Civil Procedure 54(d)(2)(B)(i),
  24   Local Rule 54-7, and 17 U.S.C. § 505, Werner now moves for an award of
  25   attorneys’ fees and costs in the amount of $51,151.03.
  26      II.       LEGAL STANDARD FOR AWARDING ATTORNEYS’ FEES
  27                Under the Copyright Act, the Court has the discretion to award reasonable
  28   attorneys’ fees and costs to the prevailing party. See 17 U.S.C. § 505.
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   1               No precise formula governs whether a court should exercise its discretion to
   2   grant attorneys’ fees to the prevailing party. See Fogerty v. Fantasy, Inc., 510 U.S.
   3   517, 534 (1994). Rather, “§ 505 grants courts wide latitude to award attorney’s fees
   4   based on the totality of circumstances in a case.” Kirtsaeng v. John Wiley & Sons,
   5   Inc., 136 S. Ct. 1979, 1985 (2016). When determining whether to award fees, courts
   6   consider a nonexclusive list of factors including (1) the degree of success obtained,
   7   (2) frivolousness, (3) motivation, (4) objective reasonableness of the losing party's
   8   legal and factual arguments, and (5) the need to advance considerations of
   9   compensation and deterrence. Wall Data Inc. v. L.A. Cty. Sheriff's Dep't, 447 F.3d
  10   769, 787 (9th Cir. 2006); see Shame On You Prods., Inc. v. Banks, 893 F.3d 661,
  11   666 (9th Cir. 2018). A court should give substantial weight to the reasonableness of
  12   the losing party’s litigating position but must also take into account the other
  13   relevant factors. See Kirtsaeng, 136 S. Ct. at 1983, 1988-89. In applying these
  14   factors, the Court must remain “faithful to the purposes of the Copyright Act,”
  15   which was intended to discourage infringement and enrich the public through
  16   access to creative works. Fogerty, 510 U.S. at 526-27, 534 n.19; see Kirtsaeng, 136
  17   S. Ct. at 1989.
  18               Here, Werner is clearly the prevailing party and is therefore eligible for
  19   attorneys’ fees. On April 28, 2020, the Court granted Werner’s Motion For
  20   Summary Judgment in its entirety as to each of Werner’s claims for copyright
  21   infringement and each of Defendants’ affirmative defenses. Dkt. #68. The Court
  22   subsequently entered judgment in favor of Werner and against Defendants stating
  23   that Werner is “entitled to pursue an award of … attorneys’ fees.” Dkt. #69. Thus,
  24   Werner is clearly the prevailing party as required for fees under § 505.
  25               Pursuant to Federal Rules of Civil Procedure 54(d)(2)(B)(i) and Local Rule
  26   54-7 a motion for attorneys’ fees must be filed no later than 14 days after entry of
  27   judgment1 which, in this case, occurred on April 28, 2020. The instant Motion
  28   1
           Werner is aware that this Motion is being brought before damages have been assessed
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   1   being filed exactly 14 days after entry of judgment, Werner has therefore timely
   2   sought a fee award.
   3            As explained more fully below, each of the aforementioned factors weighs
   4   substantially in favor of awarding attorneys’ fees in the amount sought.
   5            A. Werner Has Obtained Complete Success.
   6            The “degree of success” factor clearly weighs in favor of Werner. As
   7   previously explained, the Court granted Werner’s Motion For Summary Judgment
   8   in its entirety as to each of Werner’s claims for copyright infringement and each of
   9   Defendants’ affirmative defenses. Dkt. #68. Werner indisputably obtained a
  10   complete success on the merits of his claim.
  11            Therefore, Werner’s Motion for Attorneys’ Fees should be granted.
  12            B. Werner’s Lawsuit Was Not Frivolous Or Improperly Motivated.
  13            This factor also weighs in favor of Werner.
  14            First, Werner’s lawsuit was clearly not frivolous. Not only did Werner
  15   completely prevail on his Motion for Summary Judgment, the fact the Werner was
  16   able to prevail on all claims and defenses as a matter of law shows the overall
  17   strength of his case.
  18            Second, as to Werner’s motivation in filing suit, this too weighs in favor of
  19   awarding attorneys’ fees. As the Court pointed out in its Order granting summary
  20   judgment, Werner “sent repeated cease and desist letters” to Defendants’ general
  21   counsel Josh Ellingwood, “which Defendants ignored.” Dkt. #68, p. 7. As of the
  22   date of the filing of this action in 2018, two of the Images were still being display,
  23   and as of the date of filing of Werner’s Motion for Summary Judgment one of the
  24   Images was still being displayed despite nearly two years of litigation. Dkt. #68, p.
  25   7. Thus, while Werner certainly hoped to achieve monetary compensation for the
  26   unauthorized use of his Images, Werner was also motivated to sue because some of
  27
       related to the infringements at issue. The timing of this Motion is out of an abundance of
  28   caution so as not to run afoul of the 14-day deadline.
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   1   the Images remained in use on Defendants’ websites despite repeated notice.
   2            Therefore, Werner’s Motion for Attorneys’ Fees should be granted.
   3            C. Defendants’ Conduct And Litigation Positions Were Unreasonable.
   4            A court should give significant weight to the reasonableness of the losing
   5   party’s litigating position. See Kirtsaeng, 136 S. Ct. at 1983, 1989. Here, this factor
   6   clearly weighs in favor of Werner.
   7            Defendants raised nine separate affirmative defenses to Werner’s claims for
   8   copyright infringement. In its Order granting summary judgment as to all nine
   9   affirmative defenses, the Court recognized that all of the asserted defenses lacked
  10   objective merit. The Court noted that Defendants’ First, Sixth, and Ninth
  11   affirmative defenses were not, in fact, valid affirmative defenses at all. Dkt. #68,
  12   pp. 16-21. Thus, it was objectively unreasonable for Defendants to raise such
  13   “defenses.”
  14            The Court also noted significant issues with the remaining affirmative
  15   defenses. As to the Second affirmative defense for “authorized use” the Court noted
  16   that Defendants themselves admitted that Werner did not authorize them to use the
  17   Images. Dkt. #68, p. 17. Thus, it was objectively unreasonable for Defendants to
  18   claim the use was authorized while expressly conceding that it wasn’t.
  19            As to the affirmative defense of “fair use” the Court found that all four
  20   factors weighed in favor of Werner and none weighed in favor of Defendants. Dkt.
  21   #68, p. 18. Since the undisputed evidence overwhelmingly weighed in Werner’s
  22   favor, this suggests that Defendants’ claim of fair use was not objectively
  23   reasonable.
  24            For the Fourth affirmative defense of de minimis use, the Court recognized
  25   that Defendants used the Images in their entirety, which cut directly against the
  26   “meager” of “fragmentary” use required for de minimis defense. Dkt. #68, pp. 18-
  27   19. It was therefore objectively unreasonable to claim that the wholesale
  28   infringement that occurred was de minimis.
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   1            As to the Fifth Affirmative Defense for safe harbor, the Court recognized that
   2   this defense did not apply to three of the Images at issue, furthermore, with respect
   3   to the fourth Image, the Court recognized that Defendants failed to comply with the
   4   statutory requirements to avail themselves of safe harbor. Dkt. #68, pp. 19-20.
   5   Because it is clear that safe harbor did not apply, it was objectively unreasonable to
   6   raise it as a defense.
   7            Defendant’s Seventh affirmative defense of “volitional act” was also
   8   objectively unreasonable. As the Court stated, the undisputed facts showed that
   9   Defendants acts were, in fact, volitional. Dkt. #68, pp. 21.
  10            Likewise, Defendant’s Eighth affirmative defense of “First Amendment” was
  11   also objectively unreasonable. The Court noted that the Supreme Court has
  12   previously held that “First Amendment protections [are] already embodied in the
  13   Copyright Act's distinction between copyrightable expression and uncopyrightable
  14   facts and ideas.” Harper & Row Publishers, Inc. v. Nation Enterprises, 471 U.S.
  15   539, 560 (1985) (emphasis added). Thus, given clear Supreme Court precedent, it
  16   was objectively unreasonable for Defendants to raise this as a defense.
  17            Finally, it should be noted that Defendants failed to oppose Werner’s Motion
  18   for Summary Judgment. This suggests Defendants tacit acknowledgment that its
  19   litigation position was unreasonable and that it could not prevail.
  20            Therefore, Werner’s Motion for Attorneys’ Fees should be granted.
  21            D. A Fee Award Would Advance The Policies Of The Copyright Act.
  22            The Supreme Court has stated that attorneys’ fees should be awarded in a
  23   way that “encourages parties with strong legal positions to stand on their rights and
  24   deters those with weak ones from proceeding with litigation.” Kirtsaeng, 136 S. Ct.
  25   at 1986; see also DuckHole Inc. v. NBCUniversal Media LLC, 2013 WL 5797204,
  26   at *1 (C.D. Cal. Oct. 25, 2013) (citing Fantasy, Inc. v. Fogerty, 94 F.3d 553, 558
  27   (9th Cir. 1996)) (“Attorneys’ fees are proper when either successful prosecution or
  28   successful defense of the action furthers the purposes of the Copyright Act.”).
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   1              An award of attorneys’ fees in this case would advance considerations of
   2   compensation and deterrence. As the Court recounted in its Order granting
   3   Summary Judgment, Werner made extensive efforts prelitigation by sending
   4   numerous cease and desist letters to Defendants’ general counsel, Josh Ellingwood,
   5   alerting Defendants to the infringement. Dkt. #68 pp. 7-8. Werner’s agent, Brian
   6   Wolff, communicated directly with Ellingwood via email and even spoke to him on
   7   the telephone. Dkt. #68 pp. 8. Despite this, Defendants failed to remove the Images,
   8   and the Images were still not taken down when Werner commenced this action
   9   nearly a year later. Dkt. #68 pp. 8. Furthermore, when Werner filed his Summary
  10   Judgment Motion on March 9, 2020, Defendants had still not removed one of the
  11   Images from their web server. Dkt. #68 pp. 8.
  12              An award of fees would advance the policies of compensation and
  13   deterrence. It is clear from the record that Defendants acted with great indifference
  14   to Werner’s multiple attempts to resolve the matter outside of litigation. Not only
  15   that, but some of the infringing activity continued unabated for years after Werner’s
  16   agent first made contact with Defendants’ general counsel in 2017. Defendants’
  17   conduct essentially forced Werner to file suit in order to vindicate his rights. An
  18   award of fees would discourage and deter future infringers from acting in such an
  19   unreasonable manner. Additionally, Defendants’ conduct has had the direct result
  20   of requiring Werner to devote substantial time and expense to litigate this case in
  21   court, which could have been spent on more profitable or creative endeavors. A fee
  22   award in this instance would also serve the dual purpose of compensating Werner
  23   for the time and money invested in the litigation.
  24              Therefore, Werner’s Motion for Attorneys’ Fees should be granted.
  25   III.       THE AMOUNT SOUGHT IS REASONABLE
  26              To determine a reasonable attorneys’ fee, the Court must determine a
  27   reasonable “lodestar” fee by multiplying the number of hours reasonably expended
  28   by the attorneys on the litigation by a reasonable hourly rate. McElwaine v. US
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   1   West, Inc., 176 F.3d 1167, 1173 (9th Cir. 1999). A reasonable hourly rate is
   2   “calculated according to the prevailing market rates in the relevant community,
   3   regardless of whether plaintiff is represented by private or nonprofit counsel.”
   4   Sorenson v. Mink, 239 F.3d 1140, 1145 (9th Cir. 2001) (quoting Blum v. Stenson,
   5   465 U.S. 886, 895 (1984)). The burden is on the plaintiff to produce evidence “that
   6   the requested rates are in line with those prevailing in the community for similar
   7   services by lawyers of reasonably comparable skill, experience, and reputation.”
   8   Ibid. (quoting Blum, 465 U.S. at 895 n.11). Affidavits of the plaintiffs’ attorney and
   9   other attorneys regarding prevailing fees in the community, and rate determinations
  10   in other cases are satisfactory evidence of the prevailing market rate. United
  11   Steelworkers of Am. v. Phelps Dodge Corp., 896 F.2d 403, 407 (9th Cir. 1990)
  12            “A trial court has broad discretion to determine the reasonable amount of an
  13   attorney fee award, including whether to increase or decrease the lodestar figure.”
  14   Jadwin v. County of Kern, 767 F. Supp. 2d 1069, 1141 n.80 (E.D. Cal. 2011).
  15   Although the court has broad discretion in determining attorneys’ fee awards, it
  16   must provide some indication or explanation as to how it arrived at the amount of
  17   fees awarded.” Fair Hous. of Marin v. Combs, 285 F.3d 899, 907 (9th Cir. 2002).
  18            Here, four attorneys and a number of support staff at Higbee & Associates
  19   worked on this case, however Werner elects to only to seek fees for work
  20   performed by attorney Ryan E. Carreon who was the primary attorney on this
  21   matter, and waives any additional time performed by other attorneys and staff. This
  22   is done in order to eliminate any duplicative and excessive work. Declaration of
  23   Ryan E. Carreon (“Carreon Decl.”) ¶ 5.
  24            Here, Higbee & Associates operates exclusively on a contingent basis and
  25   therefore does not have a traditional hourly rate that it typically charges its clients.
  26   Nevertheless, an hourly rate of $380 for attorney Carreon would be appropriate and
  27   is in line with prevailing market rates for attorneys with similar levels of experience
  28   handling copyright cases the Los Angeles area. Carreon Decl. ¶¶ 6-7. In the 2013
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   1   copyright case DuckHole Inc. v. NBCUniversal Media LLC the court accepted an
   2   hourly rate of $380 for a third year associate and noted that the rates sought fall
   3   within the range of rates charged by similarly situated attorneys in the Los Angeles
   4   area. DuckHole Inc. v. NBCUniversal Media LLC, 2013 WL 5797204, at *5 (C.D.
   5   Cal. Oct. 25, 2013).
   6             Likewise, attorney Carreon is a junior associate with four years experience
   7   practicing exclusively intellectual property litigation. Carreon Decl. ¶¶ 8-10. He has
   8   litigated a multitude of cases to judgment, and has argued cases in front of the
   9   California State Court of Appeals and Ninth Circuit. Carreon Decl. ¶ 11. Therefore,
  10   the requested rate of $380 an hour, which is the same as the three-year associate
  11   rate awarded in Duckhole in 2013, is appropriately commensurate with the
  12   prevailing market rates for attorneys in his practice area and with his level of
  13   experience.
  14             Furthermore, the number of hours incurred in reasonable give the nature of
  15   this case. Attorney Carreon incurred 132.2 hours prosecuting this case from
  16   inception through judgment as reflected in the contemporaneous timesheet
  17   submitted herewith. Carreon Decl. ¶ 13, Exhibit A. This case has been pending
  18   since August 16, 2018, or approximately 90 weeks. Thus, attorney Carreon
  19   averaged a modest 1.5 hours per week working on this matter. This is incredibly
  20   reasonable considering that counsel was involved in tasks such as:
  21             - Drafting of the complaint and compiling the exhibits;
  22             - Preparing for and attending an all day mediation;
  23             - Drafting and responding to voluminous written discovery;
  24             - Drafting a Motion for Leave to file and amended complaint;
  25             - Drafting and preparing supporting documentation for Werner’s Motion
  26                for Summary Judgment;
  27             - Drafting the instant Motion for Attorneys’ Fees.
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   1             In addition to attorneys’ fees, the Copyright Act gives federal district courts
   2    discretion to award “full costs” to a party in copyright litigation. See 17 U.S.C. §
   3   505; see also Elohim EPF USA, Inc. v. Karaoke Phoenix, Inc., 2019 WL 3781598,
   4   at *3 (C.D. Cal. Aug. 12, 2019) (“The Court has authority to grant the recovery of
   5   full costs . . . to ... the prevailing party.”).
   6             Here, Werner has incurred costs of $915.03 representing a filing fee, service
   7   of process fees, and FedEx fees. Carreon Decl. ¶¶ 12-13, Exhibit A.
   8   IV.       WERNER IS ALSO ENTITLED TO TIME SPENT ON THIS MOTION
   9             “In statutory fee cases, federal courts, including our own, have uniformly
  10   held that time spent in establishing the entitlement to and amount of the fee is
  11   compensable.” Camacho v. Bridgeport Financial, Inc., 523 F.3d 973, 981 (9th Cir.
  12   2008) (quoting In re Nucorp Energy, Inc., 764 F.2d 655, 659-660 (9th Cir. 1985));
  13   see also Fogerty, 1995 WL 261504, at *7 (awarding prevailing defendant “fees-on-
  14   fees”). Werner has included the time spent on this Motion in the time sheet
  15   submitted concurrently herewith and will submit for the Court’s review additional
  16   time sheets for time incurred drafting a Reply.
  17   V.        CONCLUSION
  18             In conclusion, Plaintiff Jeffery R. Werner respectfully requests that he be
  19   awarded attorneys’ fees and costs in the amount of $51,151.03.
  20
  21   DATED: May 12, 2020                                Respectfully submitted,
  22
  23                                                      /s/ Ryan E. Carreon
                                                          Ryan E. Carreon, Esq.
  24                                                      Cal. Bar No. 311668
  25                                                      HIGBEE & ASSOCIATES
                                                          1504 Brookhollow Dr., Ste 112
  26                                                      Santa Ana, CA 92705-5418
  27                                                      (714) 617-8336
                                                          (714) 597-6559 facsimile
  28                                                      Counsel for Plaintiff
                                                9
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   1                                     PROOF OF SERVICE
       I, the undersigned, say:
   2
   3
                 I am a citizen of the United States and I am a member of the Bar of this
   4
       Court. I am over the age of 18 and not a party to the within action My business
   5
       address is 1504 Brookhollow Dr., Ste 112, Santa Ana, California, 92705.
   6
   7             On May 12, 2020 I caused to be served the foregoing documents:
   8
   9   NOTICE OF MOTION AND MOTION FOR ATTORNEYS’ FEES;
       DECLARATION OF RYAN E. CARRREON; APPLICATION TO TAX
  10   COSTS; [PROPOSED] ORDER

  11   X         I hereby certify that I electronically filed the foregoing with the Clerk of the
  12   Court for the United States District Court, Central District of California using the
  13   CM/ECF system which will send notice of such filing to the following registered
  14   CM/ECF users:
  15
  16             Ricardo Alan Chavez       rchavez.law@gmail.com

  17
  18             I certify under penalty of perjury under the laws of the United States that the

  19   foregoing is true and correct. Executed on May 12, 2020 at Santa Ana, California.

  20
                                                        /s/ Ryan E. Carreon
  21                                                       Ryan E. Carreon
  22
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  24
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  26
  27
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